    Case 07-11753        Doc 298-1 Filed 10/15/18              Entered 10/15/18 16:14:10      Desc
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                           UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MASSACHUSETTS
                                   EASTERN DIVISION

                                                           )
In re:                                                     )
                                                           )      Chapter 7
WILLIAM D. KWIATEK,                                        )      Case No. 07-11753-WCH
                                                           )
                         Debtor.                           )
                                                           )

                                    CERTIFICATE OF SERVICE

         I, Kathleen R. Cruickshank, hereby certify that on October 15, 2018, I caused a copy of the

Status Report to be served via this Court’s CM/ECF system and/or first class mail, postage prepaid,

on the parties listed on the attached service list.


                                                      /s/ Kathleen R. Cruickshank
                                                      Kathleen R. Cruickshank (BBO #550675)
                                                      MURPHY & KING, P.C.
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Dated: October 15, 2018                               Email: kcruickshank@murphyking.com




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WILLIAM D. KWIATEK
Case No. 07-11753-MSH
CM/ECF SERVICE LIST

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